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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 EMMA MENDOZA, and MANUEL                             §
 MENDOZA, individually and on behalf of all           §
 other’s similarly situated,                          §
                                                      §
 Plaintiffs,                                          §
                                                      §
 v.                                                   §    CIVIL ACTION NO. 4:19-CV-225
                                                      §
 STORM TIGHT WINDOWS OF TEXAS,                        §
 INC.,                                                §
                                                      §
 Defendant.                                           §
                                                      §


        STIPULATED DISMISSAL PURSUANT TO FED R. CIV. P. 41(a)(1)(A)(ii)

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs, Emma Mendoza

and Manuel Mendoza, and Defendant, Storm Tight Windows of Texas, Inc., (collectively, the

“Parties”), through their respective undersigned counsel, file this stipulated dismissal, stipulating

that all claims of Plaintiffs against Defendant be dismissed in their entirety with prejudice.

Dated: September 4, 2019

Respectfully submitted,

RONALD MUSTO                                              STORM TIGHT WINDOWS OF TEXAS,
                                                          INC.

/s/ Gary M. Klinger                                       /s/ Glenn R. LeMay

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Attorneys for Plaintiffs




                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2019, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. Parties may access this filing through the Court’s

electronic filing system.


                                                      /s/ Jarrett L Ellzey, Jr.
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